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                                                                 EXHIBIT 1
                IN THE UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 IN RE:                                   §     CASE NO. 25-30155
                                          §
 ALLIANCE FARM AND RANCH, LLC,            §     (CHAPTER 11)
                                          §
      DEBTOR                              §
                                          §
 IN RE:                                   §     CASE NO. 25-31937
                                          §
 ALLIANCE ENERGY PARTNERS, LLC,           §     (CHAPTER 11)
                                          §
      DEBTOR                              §
                                          §


               TRUSTEE’S EMERGENCY MOTION FOR ORDER
   (I) SETTING THE GENERAL CLAIMS BAR DATE FOR FILING PROOFS OF
 CLAIM, (II) APPROVING THE FORM AND MANNER OF NOTICE OF BAR DATE
                  AND (III) GRANTING RELATED RELIEF


THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

THERE WILL BE AN EMERGENCY HEARING ON THIS MOTION ON JUNE 25, 2025
AT 12:00 P.M. BY AUDIO AND VIDEO CONNECTION. YOU MAY ACCESS THE
FACILITY BY DIAL-IN TELEPHONE NO: 832-917-1510 AND ENTERING THE
CONFERENCE CODE 282694. VIDEO PARTICIPATION WILL BE BY GOTOMEETING
VIDEO LINK: HTTPS://MEET.GOTO.COM/JUDGEPEREZ.


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REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE ALFREDO R. PEREZ, UNITED STATES BANKRUPTCY JUDGE:

        Tom A. Howley (“Howley”), in his capacity as the chapter 11 trustee (the “Trustee”) in

the above-numbered and styled bankruptcy proceedings (the “Chapter 11 Cases”), hereby files

this emergency motion (the “Motion”) for entry of an order, substantially in the form attached

hereto (the “Proposed Order”), (a) setting bar dates for filing proofs of claim, and (b) approving

form and manner of notice of the bar date, and in support hereof, respectfully states as follows:

                                          RELIEF REQESTED

        1.       The Trustee seeks entry of an order, substantially in the form attached hereto (the

“Bar Date Order”), granting the following relief:

             a. The General Claims Bar Date. Establishing July 25, 2025, (prevailing Central
                Time) (the “General Claims Bar Date”) as the deadline by which each entity1
                (other than governmental units) must file a written proof of claim, substantially in
                the form of Official Form 410 (a “Proof of Claim”), based on prepetition claims of
                title 11 of the United States Code (the “Bankruptcy Code”), against the Debtors;

             b. Bar Date Notice. Approving the proposed from and manner of notice of the
                General Claims Bar Date (the “Notice of General Claims Bar Date”); and

             c. Any related relief.

                                     JURISDICTION AND VENUE

        2.       The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this Court

under 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory predicates for the relief requested in this Motion are sections 105(a),

501, 502, and 1111(a) of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the



1
 All terms used but not defined herein that are specifically defined in the Bankruptcy Code, including “entity,”
“claim,” and “governmental unit,” shall have the meanings ascribed to such terms in section 101 of the Bankruptcy
Code.

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“Bankruptcy Code”), Rules 2002(a)(7), (f), and (l), 3003(c), and 5005(a) of the Federal Rules of

Bankruptcy Procedures (the “Bankruptcy Rules”), and Rule 3003-1 of the Bankruptcy Local

Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                        BACKGROUND

       4.      On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC

(the “AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of title

11 of the Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to

Convert Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [DE 13]. On March 19,

2025, the Court entered its order granting the Chapter 11 Conversion Motion. [DE 24].

       5.      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC

(the “AEP Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy

case (the “AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).

       6.      On May 7, 2025, the United States Trustee filed its Notice of Chapter 11

Bankruptcy Case (the “Notice of Bankruptcy Case”) [DE 73]. The Notice of Bankruptcy Case set

the meeting of creditors (the “341 Meeting”) for June 2, 2025, at 2:00 p.m. The 341 Meeting was

subsequently rescheduled for June 16, 2025, at 1:00 p.m. The 341 Meeting was commenced and

continued until June 25, 2025 at 1:00 p.m. The Notice of Bankruptcy Case established the deadline

for a governmental unit to file a proof of claim as November 3, 2025. The Notice of Bankruptcy

Case did not establish a deadline for filing general proofs of claim.

       7.      On May 12, 2025, the United States Trustee filed its Notice of Appoint of Committee

of Unsecured Creditors [DE 77] appointing an official committee of unsecured creditors of the

Debtors (the “Committee”).




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       8.      On May 22, 2025, the Committee filed its Emergency Motion for Appointment of

Chapter 11 Trustee (the “Trustee Motion”) [DE 98]. On May 23, 2025, the Court entered its order

granting the Trustee Motion [DE 112]. On May 27, 20025, the United States Trustee filed its

Emergency Motion to Approve Appointment of Tom A. Howley as Chapter 11 Trustee [DE 115]

On May 27, 2025, the Court entered its Order Approving Appointment of Tom A. Howley as

Chapter 11 Trustee [DE 117].

       9.      On May 30, 2025, the Trustee filed his Emergency Motion for Order Approving (I)

Global Settlement Between Debtors and Erik and Darla Ostrander and (II) Granting Related

Relief (the “Settlement Motion”) [DE 121]. The Settlement Motion sought approval of a

settlement resolving the Debtors’ litigation claims against Erik and Darla Ostrander and bringing

in $1.5 million to the AFR estate. On June 3, 2025, the court entered its order approving the

Settlement Motion (the “Settlement Order”) [DE 128].

                              BASIS FOR RELIEF REQUESTED

A.     The Court is Authorized to Approve the General Claims Bar Date

       10.     The Trustee requests the approval of the proposed General Claims Bar Date. The

proposed General Claims Bar Date will provide claimants with adequate notice and opportunity to

review their records and the Schedules to determine whether to file a Proof of Claim. Specifically,

the Trustee requests that the Court establish July 25, 2025, as the General Claims Bar Date by

which all entities (other than governmental entities) must file proofs of claim based on secured,

unsecured, priority, and non-priority claims, against the Debtors that arose or are deemed to have

arisen prior to the Petition Date by the General Claims Bar Date.

       11.     Bankruptcy Rule 3003(c)(3) provides that, in chapter 11 cases, “[t]he court shall fix

. . . the time within which proofs of claim or interest may be filed.” Fed. R. Bankr. P. 3003(c)(3).



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Although Bankruptcy Rule 2002(a)(7) generally provides that all parties in interest must receive,

at a minimum, 21 days’ notice of the time fixed for filing proofs of claim pursuant to Bankruptcy

Rule 3003(c), neither the Bankruptcy Code, the Bankruptcy Rules, nor the Bankruptcy Local Rules

specify a time by which proofs of claim must be filed in chapter 11 cases (other than section

502(b)(9) of the Bankruptcy Code relating to governmental units). While Bankruptcy Local Rule

3003-1 sets forth default bar dates for filing proofs of claim and proofs of interest, it states that the

Court may order a different date for filing proofs of claim.

        12.     Bar dates play an essential role in the twin goals of bankruptcy—preserving a

debtor’s going-concern value and maximizing property available to satisfy creditors. They

“promote the expeditious and efficient administration of bankruptcy cases[,]” thereby permitting

the debtor and parties in interest to determine and evaluate the liabilities of the estate. In re Sam,

894 F.2d 778, 781 (5th Cir. 1990). With the General Claims Bar Date, the Trustee will have a clear

understanding of the nature and scope of claims against the Debtors, which will allow the Debtors

to reduce administrative costs and facilitate its exit from this chapter 11 case. Until the General

Claims Bar Date has passed, the Debtors remain subject to the risk that additional unknown claims

may be asserted, or that creditors whose claims have been scheduled will assert amounts materially

greater than the amounts listed in the Schedules. Based on the foregoing, the Trustee requests

approval of the General Claims Bar Date herein.

B.      Consequences of Failure to File a Proof of Claim

        13.     Any entity that is required, but fails, to file a Proof of Claim in accordance with this

Bar Date Order on or before the applicable Bar Date shall be forever barred, estopped, and enjoined

from asserting such claim against the Debtors (or filing a Proof of Claim with respect thereto) and




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the Debtors and their property shall be forever discharged from any and all indebtedness or liability

with respect to or arising from such claim.

C.     Form and Manner of Notice of Bar Date

       14.     The Trustee requests the approval of the form and manner of the Notice of General

Claims Bar Date. The Trustee proposes to mail (or cause to be mailed) within three (3) business

days of the entry of order approving this Motion or as soon as reasonably practicable thereafter, to

all known creditors, membership interest holders in the Debtors, and all counterparties to executory

contracts and unexpired leases the Notice of General Claims Bar Date, substantially in the form

attached hereto as Exhibit “A”, setting forth notice of the General Claims Bar Date.

       15.     The proposed service of the Notice of General Claims Bar Date will provide

sufficient notice to parties of the General Claims Bar Date.

       16.     Accordingly, the Trustee respectfully requests that this Court approve the form and

manner of the service of the Notice of General Claims Bar Date in the foregoing manner.

D.     The Proposed Notice Procedures Are Reasonable and Appropriate

       17.     Bankruptcy Rule 2002 establishes the general rule for notifying creditors in chapter

11 cases. Specifically, Bankruptcy Rule 2002(a) states that “the clerk, or some other person as the

court may direct, shall give the debtor, the trustee, all creditors and indenture trustees at least 21

days’ notice by mail of … the meeting of creditors under § 341 or § 1104(b) of the [Bankruptcy]

Code.” FED. R. BANKR. P. 2002(a)(1). Bankruptcy Rule 2002(f) provides that such notice of

the order for relief shall be sent by mail to all creditors. See FED. R. BANKR. P. 2002(f).

       18.     Where a creditor is known to the debtor, due process requires that the debtor must

take reasonable steps, such as direct mailing, to provide actual notice of the deadline for filing

Proofs of Claim. The Trustee proposes to send the Notice of General Claims Bar Date via first



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class mail to known creditors listed on the creditor matrix by no later than three (3) business days

or as soon as reasonably practicable after entry of the General Claims Bar Date Order, providing

such creditors sufficient written notice of the General Claims Bar Date.

       19.     The procedures and notice periods described herein provide clear notice of the Bar

Dates in satisfaction of the requirements of the Bankruptcy Rules and consistent with the policies

of the Bankruptcy Code, while ensuring that the Debtors can achieve certainty with respect to their

liabilities in a timely manner. The Notice of General Claims Bar Date and the form and manner of

providing notice thereof are appropriate, inure to the benefit of all parties in interest, and should

be approved.

                        BASIS FOR EXPEDITED CONSIDERATION

       20.     The Debtors have limited estate resources and no ongoing operations. The Trustee

anticipates filing a liquidation plan shortly and needs to establish the universe of claims against

the Debtors in order to ensure the plan’s feasibility and confirmability. Emergency consideration

of this Motion is appropriate in order to allow the General Claims Bar Date to be set and for the

Trustee to provide adequate notice of the General Claims Bar Date to the Debtors’ creditors. Absent

emergency consideration, the Debtors will continue to incur additional unnecessary administrative

expenses, to the detriment of their estates.

                                               NOTICE

       21.     Notice of the Motion will be provided by email, facsimile, or overnight courier to:

(a) the U.S. Trustee; (b) the Trustee and its counsel, (c) the holders of the 30 largest unsecured

claims against the Debtors; (d) the United States Attorney’s Office for the Southern District of

Texas; (e) those persons who have formally appeared in these chapter 11 cases and requested

service pursuant to Bankruptcy Rule 2002; (f) all applicable government agencies to the extent

required by the Bankruptcy Rules and the Local Rules; and (g) any other party entitled to notice

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pursuant to Bankruptcy Local Rule 9013-1(d) (the “Notice Parties”). The Debtors submit that

no other or further notice need be provided.

                                               PRAYER

       WHEREFORE, the Trustee respectfully requests that the Court enter an order, substantially

in the form submitted herewith: (i) granting the relief requested in this Motion; and (ii) granting

the Debtors such other and further relief as the Court may deem just and proper.

Dated: June 18, 2025                           Respectfully submitted,

                                               HOWLEY LAW PLLC

                                               /s/ Eric Terry
                                               Eric Terry
                                               State Bar No. 00794729
                                               HOWLEY LAW PLLC
                                               TC Energy Center
                                               700 Louisiana Street Suite 4545
                                               Houston, Texas 77002
                                               Phone: 713-333-9125
                                               Email: tom@howley-law.com
                                               Email: eric@howley-law.com

                                               Proposed Trustee Counsel


                                CERTIFICATE OF SERVICE

        I certify that on June 18, 2025, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas and via first-class mail to all parties on the attached service lists.

                                                /s/ Eric Terry
                                               Eric Terry

                               CERTIFICATE OF ACCURACY

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                /s/ Eric Terry
                                               Eric Terry


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                                                                                EXHIBIT A
                    IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                           §      CASE NO. 25-30155
                                                   §
  ALLIANCE FARM AND RANCH, LLC,                    §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §
  IN RE:                                           §      CASE NO. 25-31937
                                                   §
  ALLIANCE ENERGY PARTNERS, LLC,                   §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §


                            NOTICE OF GENERAL BAR DATE
To Whom it May Concern:
       On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC (the
“AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of title 11 of
the Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to Convert
Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [DE 13]. On March 19, 2025, the
Court entered its order granting the Chapter 11 Conversion Motion. [DE 24].
      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC (the “AEP
Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy case (the
“AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).
        On May 7, 2025, the United States Trustee filed its Notice of Chapter 11 Bankruptcy Case
(the “Notice of Bankruptcy Case”) [DE 73]. The Notice of Bankruptcy Case set the meeting of
creditors (the “341 Meeting”) for June 2, 2025, at 2:00 p.m. The 341 Meeting was subsequently
rescheduled for June 16, 2025, at 1:00 p.m. The Notice of Bankruptcy Case established the
deadline for a governmental unit to file a proof of claim as November 3, 2025. The Notice of
Bankruptcy Case did not establish a deadline for filing general proofs of claim.
        On May 22, 2025, the Committee filed its Emergency Motion for Appointment of Chapter
11 Trustee (the “Trustee Motion”) [DE 98]. On May 23, 2025, the Court entered its order granting
the Trustee Motion [DE 112]. On May 27, 20025, the United States Trustee filed its Emergency
Motion to Approve Appointment of Tom A. Howley as Chapter 11 Trustee [DE 115] On May 27,
2025, the Court entered its Order Approving Appointment of Tom A. Howley as Chapter 11 Trustee
(the “Trustee Appointment Order”) [DE 117]. Pursuant to the Trustee Appointment Order, Tom,



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A. Howley is the chapter 11 trustee (the “Trustee”) in the above-numbered and styled Chapter 11
Cases.
        All documents filed in the case may be inspected at the bankruptcy clerk’s office at the
addressed listed below or through PACER (Public Access to Court Electronic Records at
https://pacer.uscourts.gov.
                                    General Claims Bar Date
        On June __, 2025, the Court entered an order setting the proof of claim bar date for non-
government claims on July 25, 2025. A proof of claim is a signed statement describing a creditor’s
claim. A proof of claim form may be obtained at https://pacer.uscourts.gov, or any bankruptcy
clerk’s office. Your claim will be allowed in the amount scheduled unless: (i) your claim is
designated as disputed, contingent, or unliquidated; (ii) you file a proof of claim in a different
amount; or (iii) you receive another notice.
       If your claim is not scheduled or your claim is designated as disputed, contingent, or
unliquidated, you must file a proof of claim or you might not be paid on your claim and you might
be unable to vote on the Plan.
       You may file a proof of claim even if your claim is scheduled. You may review the
schedules at the bankruptcy clerk’s office, online at https://pacer.uscourts.gov.
       Secured creditors retain rights in their collateral regardless of whether they file a proof of
claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
consequences a lawyer can explain. For example, a secured creditor who files a proof of claim
may surrender important nonmonetary rights, including the right to a jury trial.
Dated: June [xx], 2025                        Respectfully submitted,

                                              HOWLEY LAW PLLC

                                              /s/ Eric Terry
                                              Eric Terry
                                              State Bar No. 00794729
                                              HOWLEY LAW PLLC
                                              TC Energy Center
                                              700 Louisiana Street Suite 4545
                                              Houston, Texas 77002
                                              Phone: 713-333-9125
                                              Email: tom@howley-law.com
                                              Email: eric@howley-law.com

                                              Proposed Trustee Counsel




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                               CERTIFICATE OF SERVICE

        I certify that on June [xx], 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and via first-class mail to all parties on the attached service lists.

                                             /s/ Eric Terry
                                            Eric Terry




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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

     IN RE:                                                    §        CASE NO. 25-30155
                                                               §
     ALLIANCE FARM AND RANCH, LLC,                             §        (CHAPTER 11)
                                                               §
             DEBTOR                                            §
                                                               §
     IN RE:                                                    §        CASE NO. 25-31937
                                                               §
     ALLIANCE ENERGY PARTNERS, LLC,                            §        (CHAPTER 11)
                                                               §
             DEBTOR                                            §
                                                               §


ORDER (I) SETTING THE GENERAL CLAIMS BAR DATE FOR FILING PROOFS OF
 CLAIM, (II) APPROVING THE FORM AND MANNER OF NOTICE OF BAR DATE
                  AND (III) GRANTING RELATED RELIEF


           Upon the motion (the “Motion”)1 of the Trustee for entry of an order (this “Order”) (a)

establishing a deadline for filing general proofs of claim in these Chapter 11 Cases; and (b)

approving the form and manner of notice of the deadline for filing general proofs of claim, all as

more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334; and this Court having found that this is a core proceeding within the meaning

of 28 U.S.C. § 157(b); and that this Court may enter a final order consistent with Article II of the

United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estate, its

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the




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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court, if any; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is hereby ORDERED that:

        1.       Each entity 2 that asserts a claim (whether secured, unsecured, priority, or

nonpriority) against either of the Debtors that arose or is deemed to have arisen before the Petition

Date, must file an original, written proof of claim (a “Proof of Claim”), substantially in the form

of Official Form 410. Except in the cases of governmental units and certain other exceptions

explicitly set forth herein, a Proof of Claim must be filed so that it is filed on or before July 25,

2025, (the “General Claims Bar Date”), in accordance with the instructions set forth in the Notice

of Bar Date Order. The General Claims Bar Date applies to all types of claims against the Debtors

that arose or are deemed to have arisen before the Petition Date, except for claims specifically

exempt from complying with the General Claims Bar Date.

        2.       The form of the Notice of the General Claims Bar Date as proposed in the Motion,

substantially in the form attached hereto as Exhibit 1, shall be deemed good and sufficient notice

of the Notice of the General Claims Bar Date and no further notice be given. The Trustee shall

mail a copy of the Notice of General Claims Bar Date to the parties set forth in the Motion within

three (3) business days of the entry of this Order or as soon as reasonably practicable. The notice




2
  Except as otherwise defined herein and in the Motion, all terms used but not defined herein that are specifically
defined in the Bankruptcy Code, including “entity,” “claim,” and “governmental unit,” shall have the meanings
ascribed to such terms in section 101 of the Bankruptcy Code.
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procedures set forth in this paragraph constitute good and sufficient notice of the General Claims

Bar Date.

       3.      Nothing contained in the Motion or this Order shall be deemed or construed as an

admission to the validity or priority of any claim or lien against the Debtors or any other party or

as a waiver of such parties’ rights to dispute any claim or lien.

       4.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall take effect

immediately upon its entry.

       5.      All time periods set forth in this Order shall be deemed to meet the statutory

requirements or are hereby altered in accordance with Bankruptcy Rule 9006(a).

       6.      The Trustee is authorized to take all reasonable actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

       7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated: _________________, 2025
Houston, Texas
                                               _____________________________________
                                               ALFREDO R. PEREZ
                                               UNITED STATES BANKRUPTCY JUDGE
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                                                                                EXHIBIT 1
                    IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                           §      CASE NO. 25-30155
                                                   §
  ALLIANCE FARM AND RANCH, LLC,                    §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §
  IN RE:                                           §      CASE NO. 25-31937
                                                   §
  ALLIANCE ENERGY PARTNERS, LLC,                   §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §


                            NOTICE OF GENERAL BAR DATE
To Whom it May Concern:
       On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC (the
“AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of title 11 of
the Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to Convert
Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [DE 13]. On March 19, 2025, the
Court entered its order granting the Chapter 11 Conversion Motion. [DE 24].
      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC (the “AEP
Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy case (the
“AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).
        On May 7, 2025, the United States Trustee filed its Notice of Chapter 11 Bankruptcy Case
(the “Notice of Bankruptcy Case”) [DE 73]. The Notice of Bankruptcy Case set the meeting of
creditors (the “341 Meeting”) for June 2, 2025, at 2:00 p.m. The 341 Meeting was subsequently
rescheduled for June 16, 2025, at 1:00 p.m. The Notice of Bankruptcy Case established the
deadline for a governmental unit to file a proof of claim as November 3, 2025. The Notice of
Bankruptcy Case did not establish a deadline for filing general proofs of claim.
        On May 22, 2025, the Committee filed its Emergency Motion for Appointment of Chapter
11 Trustee (the “Trustee Motion”) [DE 98]. On May 23, 2025, the Court entered its order granting
the Trustee Motion [DE 112]. On May 27, 20025, the United States Trustee filed its Emergency
Motion to Approve Appointment of Tom A. Howley as Chapter 11 Trustee [DE 115] On May 27,
2025, the Court entered its Order Approving Appointment of Tom A. Howley as Chapter 11 Trustee
(the “Trustee Appointment Order”) [DE 117]. Pursuant to the Trustee Appointment Order, Tom,



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A. Howley is the chapter 11 trustee (the “Trustee”) in the above-numbered and styled Chapter 11
Cases.
        All documents filed in the case may be inspected at the bankruptcy clerk’s office at the
addressed listed below or through PACER (Public Access to Court Electronic Records at
https://pacer.uscourts.gov.
                                    General Claims Bar Date
        On June __, 2025, the Court entered an order setting the proof of claim bar date for non-
government claims on July 25, 2025. A proof of claim is a signed statement describing a creditor’s
claim. A proof of claim form may be obtained at https://pacer.uscourts.gov, or any bankruptcy
clerk’s office. Your claim will be allowed in the amount scheduled unless: (i) your claim is
designated as disputed, contingent, or unliquidated; (ii) you file a proof of claim in a different
amount; or (iii) you receive another notice.
       If your claim is not scheduled or your claim is designated as disputed, contingent, or
unliquidated, you must file a proof of claim or you might not be paid on your claim and you might
be unable to vote on the Plan.
       You may file a proof of claim even if your claim is scheduled. You may review the
schedules at the bankruptcy clerk’s office, online at https://pacer.uscourts.gov.
       Secured creditors retain rights in their collateral regardless of whether they file a proof of
claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
consequences a lawyer can explain. For example, a secured creditor who files a proof of claim
may surrender important nonmonetary rights, including the right to a jury trial.
Dated: June [xx], 2025                        Respectfully submitted,

                                              HOWLEY LAW PLLC

                                              /s/ Eric Terry
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                                              Proposed Trustee Counsel




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                               CERTIFICATE OF SERVICE

        I certify that on June [xx], 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and via first-class mail to all parties on the attached service lists.

                                             /s/ Eric Terry
                                            Eric Terry




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